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 Excerpt from www.churchofchrist.org., Defendant’s official website:




 …we know that they had a table like this.
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 We know they had the golden plates, covered, usually.




 And Joseph used these, uh, the urim and thummim, seer stones, in the, in
 the hat.
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 It was easier for him to see the light when he’d, uh, take that position…




                               END OF EXCERPT
